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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF VERMONT
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UNITED STATES OF AMERICA                                                                   CLERK
                                                       Criminal No.
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                                                                                       'iJlil,tny CUitl .
            V.

GEORGE CASEY,                                                 a~ al-n-!f - sG-\
     Defendant.



                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Michael Mccullagh, being duly sworn, depose and state as follows:

                                 BACKGROUND OF AFFIANT

       1.        I am a Special Agent with Homeland Security Investigations ("HSI"), and I have

been employed by HSI as a Special Agent since July of 2002. Upon graduating from the Federal

Law Enforcement Training Center, I was assigned as a Special Agent for the U.S. Customs

Service in the Special Agent in Charge (SAC) New York Office in New York City. In October

2007, I transferred to the Burlington, Vermont Resident Agent in Charge Office, where I

presently work. I hold a Bachelor of Science degree in Business Administration from Saint

Michael's College. I have been a computer forensic agent ("CF A") for my agency since 2006 and

have participated in many child pornography and child exploitation investigations. Prior to my

employment with HSI, I was a police officer with the Winooski, Vermont Police Department.

       2.        I have received extensive training provided by the Federal Law Enforcement

Training Center and HSI in the investigation and enforcement oflaws of the United States. I have

received training specifically in the area of child pornography (as defined in 18 U.S.C. § 2256)

and child exploitation. I have, as part of my daily duties as an HSI Special Agent, investigated

violations relating to child exploitation and child pornography, including violations pertaining to

the possession, distribution, receipt and production of child pornography, the online enticement of
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minors, and traveling in interstate and f~reign commerce to engage in sexual activity with minors,

in violation of 18 U.S.C. §§ 2251, 2252, 2252A, 2422, and 2423. I have participated in the

execution of numerous search and arrest warrants involving child exploitation and/or child

pornography offenses.

       3.      This affidavit is being submitted in support of a Criminal Complaint for George

CASEY ("CASEY") for violations of 18 U.S.C. § 225l(a)(l) - Production of Child Pornography,

and 18 U.S.C. § 2252(a)(4)(B)-Possession of Child Pornography (collectively the "TARGET

OFFENSES").

       4.      The statements contained in this affidavit are based in part on information

provided by members of local, state, and federal law enforcement, my own investigation to

include personal observations, documents, and other investigative materials that I have reviewed,

as well as my training and experience as a Special Agent with HSI. Since this affidavit is being

submitted for the limited purpose of securing a criminal complaint, I have not included each and

every fact known to me concerning this investigation. I have set forth only the facts that I believe

are necessary to establish probable cause that CASEY has committed the TARGET OFFENSES.

Where I describe a statement, it is described in substance, not verbatim, unless otherwise noted.

                                      PROBABLE CAUSE

       5.      Based on my review of documents, specifically an application for a state warrant

to search 139 Gilman Circle #4, Colchester, Vermont dated March 5, 2021 (the "Affidavit"), and

discussions with law enforcement officers, I learned that on July 31, 2020, Detective Trooper

David Hurwitch, assigned to the Chittenden Unit for Special Investigations ("CUSI''), received a

report from the Colchester Police Department. This report alleged that a male, later identified as

George CASEY, had touched a six-year-old female child's vaginal area over her clothes. This


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child is referred to herein as "Victim 1." 1 This incident was reported by Victim 1'smother, who

also advised law enforcement that she had learned that a neighbor's child, hereafter referred to as

"Victim 2," was digitally penetrated by CASEY. Victim 2 was a five-year-old female child at the

time of this incident.

        6.         The Affidavit contains details of an interview of Victim 2 by a CUSI investigator

that took place on August 4, 2020. In this interview, Victim 2 disclosed the following:

        a.         Victim 2 spoke about her friend, hereafter referred to as Victim 3.

        b.          Victim 2 said that Victim 3 lives with her dad and "the one who does all the

                   inappropriate stuff," whom Victim 2 identified as Victim 3 's family member.

        c.         Victim 2 advised that CASEY takes off Victim 3's pants as well as his own pants.

        7.         The Affidavit detailed an interview of Victim 3 by a CUSI investigator that took

place on August 4, 2020. Victim 3 was a seven-year-old female child at the time of this incident.

In this interview, Victim 3 disclosed the following:

        a.         Early on in the interview, Victim 3 advised the investigator, "I kinda forgot what

                   happened a little bit after that cause it's like I have too much other stuff in my

                   mind going on right now."

        b.         Victim 3 would play games with her family member (CASEY), such as Fortnite

                   and Minecraft. While playing games, Victim 3 would observe CASEY rubbing his

                   privates. Victim 3 gestured to show this behavior to the investigator with her hand

                   in front of her groin area and moving her hand up and down. Victim 3 was not

                   able to tell the investigator the name of the private part but explained that he used

                   that part of his body to pee. When asked what CASEY looked like when he was



        1
             The identities of the minor children referred to herein are known to law enforcement.
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               rubbing his privates, Victim 3 responded, "I don't know, kind oflike a happy face

               smile."

       8.      The Affidavit also included details of a September 24, 2020 interview by Detective

Hurwitch of Victim 3's father, J.H., at the Colchester, Vermont Police Department. During this

interview, J.H. was accompanied by Shannon Naylor, an adult friend of both him and Victim 3.

In this interview, the following information was learned:

       a.      Shannon advised that while at the residence to see J.H., she walked past CASEY's

               room and observed him masturbating through the open door. Shannon further

               advised that CASEY does not have good social skills and would mostly talk about

               sexual and gaming stuff with her.

       b.      Shannon advised that Victim 3 had told her previously she does not like it "when

               the boys walk in on me when I'm in the bathroom at night," mostly George

               (CASEY).

       c.      Shannon advised that about three weeks earlier, she spoke with CASEY and he

               stated, "well I guess I deleted all my porn for nothing" because the police are not

               coming. Shannon also advised that CASEY has an interest in weird sex toys and

               ammepom.

       d.      J .H. said that he wanted CASEY to move. J.H. also said that it would not go well

               if CASEY was to be arrested.

       9.      On March 11, 2021, a state search warrant was executed at CASEY's residence,

located at 139 Gilman Circle, #4, Colchester, Vermont. CASEY lived with two relatives at the

location. Investigators were told by the occupants of the residence which bedroom CASEY lived

in. Investigators also found a piece of mail addressed to CASEY from Comcast in this bedroom.


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This piece of mail was photographed in place. I have viewed the photograph and observed that

the mail was addressed to CASEY at 139 Gilman Cir, Apt 4, Colchester. In CASEY's bedroom,

a number of electronic media devices were seized. These devices were sent to the Vermont State

Police Computer Crime Unit for forensic analysis. Analysis of these devices was assigned to

Detective Sergeant Eric Jollymore, a computer forensic examiner assigned to the Bureau of

Criminal Investigation - Computer Crime Unit.

        10.     On August 6, 2021, Det. Jollymore submitted a sworn affidavit providing a brief

synopsis of his findings. I also spoke with Det. Jollymore about this affidavit and the status of his

analysis. He advised that his forensic examination is not complete due to the large volume of

electronic files. Det. Jollymore also provided five video files as well as some metadata about the

files, such as their file paths.

        11.     In his affidavit, as well as the other supporting documentation, Det. Jollymore

provided the following information:

        a.      He located several hundred thousand media files, to include several concerning

                files that were located on a Seagate external hard drive, which had been seized as

                part of this investigation.

        b.       Within the Seagate drive, there were numerous directories, two of which contained

                video files documenting produced child sexual abuse.

        c.       Also on the Seagate external hard drive, Det. Jollymore found a file titled

                 "me.jpg." The photo in this file is a close-up photo depicting an adult male's

                 face. I recognize the depicted male to be CASEY from having viewed his driver's

                 license photo and from having spoken to him in person.




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         d.           The two directories were titled:

                      "hentai\hentai\Hentai\nsfw\Hentai32\photorealistic\nsfw\BlackUSBFiles\Hentai\N

                      ew folder\New folder\ New folder\ New folder\ New folder\ New folder\ New

                      folder\misc\ Various Files 5\NSFW\tasty yum yums\:XXXXX & Friend" 2 and

                      "hentai\hentai\h2\Hentai32\photorealistic\nsfw\BlackUSBFiles\Hentai\New

                      folder\New folder\ New folder\ New folder\ New folder\ New folder\ New

                      folder\misc\Various Files 5\NSFW\tasty yum yums\X:XX:XX & Friend."

         e.           Based on my training and experience, I know that "NSFW" is a common acronym

                      for "Not Safe for Work." I also know that "Hentai" is a type of pornography

                      involving hand drawn or computer animation which originated in Japan.

         f.           Det. Jollymore described five of the videos he located in these directories on the

                      Seagate external hard drive. For the purposes of this affidavit, I have substituted

                      the initials of the child victims from Det. Jollymore's affidavit to their

                      corresponding victim number within this affidavit. Det. Jollymore's descriptions

                      of what is depicted in these video files follow:

                 1.          V00705-142608.mp4 - A 26 second video file, depicting Victim 3 sitting

                             on an office chair in a pink camouflage bathing suit. In the left hand of

                             Victim 3 is a corded, dark colored object with a red light. This object was

                             placed directly in the front of the crotch of Victim 3. After several seconds

                             of video recording, an adult sized left hand can be seen approaching the

                             crotch of Victim 3 and placing their fingers in front of the clothed vagina.

                             The fingers of this unknown adult hand can be seen pressing forward and


        2
            The file title accurately identifies the family relation between Victim 3 and CASEY. The family relation
identifier has been replaced with XXXXX.
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          backwards rapidly up against the crotch of Victim 3. This file maintained

          an EXIF CreateDate of 07/05/2020.

   11.    V00705-154708.mp4 -A one minute and fifteen second video file,

          depicting Victim 2 and Victim 3 both on their hands and knees. Victim 3

          can be seen in the same pink camouflage bathing suit. Victim 2 was

          partially clothed; her panties were down by her knees and her dress was

          pulled up above her waist making her bare buttocks visible to the camera.

          After several seconds, the camera moves closer to Victim 2. An adult sized

          left hand can be seen entering the view of the camera and is placed on the

          buttocks of Victim 2. After several moments, the same hand proceeds to

          spread the buttocks of Victim 2 exposing the vagina of the minor. Using

          that same hand, the individual inserts their pointer finger into the vagina of

          Victim 2 and repeatedly inserts and removes the finger in a pulsing motion.

          The bed spread seen in this video matches the decorative color and pattern

          as a bed spread seen in the search warrant photos taken of a bedroom

          during the execution of a residential search warrant by investigators. This

          file maintained an EXIF CreateDate of 07/05/2020.

  111.    V00705-155453.mp4 -A thirty-one second video file, depicting Victim 2

          and Victim 3 in front of a male who was laying on a bed nude from the

          waist down. Victim 3 can be seen in the same pink camouflage bathing

          suit. Victim 2 was also seen in the same white floral dress. In this video,

          Victim 3 can be seen approaching this male who was holding their penis

          with their left hand. After several moments, Victim 3 can be seen placing


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          their mouth on this penis. Victim 3 backs away from the penis and then

          after several moments returns and places their mouth on the penis a second

          time within the same video. Both acts were completed in view of Victim 2.

          The bed spread seen in this video matches the decorative color and pattern

          as a bed spread seen in the search warrant photos taken of a bedroom

          during the execution of a residential search warrant by investigators. This

          file maintained an EXIF CreateDate of 07/05/2020.

  1v.     V00705-145016.mp4-A thirty-eight second video file, depicting Victim 2

          and Victim 3 in front of a male who was laying on a bed with their penis

          exposed to the camera. In the view of the camera and both Victim 2 and

          Victim 3 the male can be seen masturbating using their left hand. Victim 3

          can be seen in the same pink camouflage bathing suit. Victim 2 can also be

          seen in the same white floral dress. After several moments, Victim 2 and

          Victim 3 engage in a brief dialogue while the male manipulates his penis.

          Victim 2 can be seen hesitating before slowly leaning forward to take hold

          of the penis from the male. Victim 2 moves her hand several times up and

          down the shaft of the penis before releasing it. The bed spread seen in this

          video matches the decorative color and pattern as a bed spread seen in the

          search warrant photos taken of a bedroom during the execution of a

          residential search warrant by investigators. This file maintained an EXIF

          CreateDate of 07/05/2020.

   v.     V00709-123838.mp4-A two minute and fifty-four second video file in

          length. This video immediately started jumbled with movement and


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                            depicted a juvenile lowering their shorts to expose their buttocks to the

                            camera. 3 Also in view, was a male nude from the waist down who was

                            manipulating their penis with their left hand. The camera then focuses on

                            the nude buttocks of a juvenile who lowers themself onto the penis of this

                            male. The right hand of the juvenile can be seen attempting to guide the

                            penis towards their buttocks. The male proceeded to thrust several times

                            into the buttocks area of this juvenile. There is a large portion ohime in

                            this video that is then black with no visible action having taken place. At

                            two minutes and twenty-seven seconds, the male can be seen sitting back

                            down on the bed. In the view of the camera is Victim 2 who is standing in

                            the comer of the room observing the action. Victim 2 was not seen in the

                            beginning of this video. The face and body of a male can be seen in this

                            video including a small, dark colored, possible tattoo on their right

                            shoulder. The bed spread seen in this video matches the decorative color

                            and pattern as a bed spread seen in the search warrant photos taken of a

                            bedroom during the execution of a residential search warrant by

                            investigators. This file maintained an EXIF CreateDate of 07/09/2020.

        12.        I have viewed the five videos described in this affidavit and agree with the

descriptions provided by Det. Jollymore. In my review, I observed that both of the female child

victims appear to be within their actual ages at the time the video was created in 2020, five and

seven years old. I also observed that Victim 2 does not have any pubic hair present as depicted in

one of the videos. I have also viewed photographs taken of CASEY' s bedroom during execution


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            Based on my review of this video and the other materials in this matter, I believe that this juvenile is
Victim 3.
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of the search warrant. The distinctive bed spread seen in the videos found described in this

affidavit appears to be the same bed spread seen in the search warrant photos of CASEY' s

bedroom.

       13.     As indicated by Det. Jollymore, an adult male's face is captured in video V00709-

123838.mp4. I have viewed CASEY's Vermont Driver's License photograph and met him in

person. I believe that he is the male shown in that video.

       14.     I have spoken with Det. Hurwitch, who has also viewed the five videos described

in this affidavit. Det. Hurwitch recognized the male in video, V00709-123838.mp4, as George

CASEY, whom he has met in person. Det. Hurwitch also recognized both Victim 2 and Victim 3

from the five videos, as he has also met them in person and identified them as children.

       15.     Based on my training and experience, I know that the Seagate external hard drives

are made and manufactured outside the State of Vermont. Specifically, Seagate external hard

drives are made in China.




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                                          CONCLUSION

       16.     Based on my training and experience and the facts set forth in this Affidavit, I

believe that there is probable cause to believe that violations of 18 U.S.C. § 2251(a)(l) -

Production of Child Pornography, and 18 U.S.C. § 2252(a)(4)(B)-Possession of Child

Pornography have been committed by CASEY.


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                                                            ,Special Agent Mfchael McCullagh
                                                             Department of Homeland Security
                                                             Homeland Security Investigations


Subscribed and sworn to before me this 12th day of August, 2021.




HON. KEVIN J. DOYLE
UNITED STATES MAGISTRAT




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